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                       UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

IN RE:                                        )
                                              )      Case No. 23-16427
Robert Divilbiss,                             )
               Debtor(s)                      )      Chapter 13
                                              )      Judge Deborah L. Thorne
                                  NOTICE OF MOTION
To: SEE ATTACHED SERVICE LIST
       PLEASE TAKE NOTICE that on June 27, 2024 at 10:30 AM, I will appear before
the Honorable Deborah L. Thorne or any judge sitting in that judge’s place, either in
Courtroom 682 of the Everett McKinley Dirksen United States Courthouse, 219 S.
Dearborn Street, Chicago, IL 60604, or electronically as described below, and present the
motion of Debtor to Voluntarily Dismiss Chapter 13 Case, a copy of which is attached.

      Important: Only parties and their counsel may appear for presentment of the
motion electronically using Zoom for Government. All others must appear in person.

         You may appear electronically by video or by telephone.

       To appear by video, use this link: https://www.zoomgov.com/join. Then enter the
meeting ID and password.

       To appear by telephone, call Zoom for Government at 1-669-254-5252 or 1-646-
828- 7666. Then enter the meeting ID and password.

        Meeting ID and passcode. The meeting ID for this hearing is: 160 9362 1728, no
passcode is required. The meeting ID and passcode can also be found on the judge’s page
on the court’s website.

       If you object to this motion and want it called on the presentment date above, you
must file a Notice of Objection no later than two (2) business days before that date. If a
Notice of Objection is timely filed, the motion will be called on the presentment date. If no
Notice of Objection is timely filed, the court may grant the motion in advance without calling
it.
                                                              /s/ Vaughn White
                                                              Vaughn White
                                                              VW LAW LLC
                                                              Attorney for Debtor(s)
                                                              1700 Park St, Suite 203
                                                              Naperville, IL 60563
                                                              630-429-9010
                                                              ARDC # 6198291
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                              CERTIFICATE OF SERVICE

       I, Vaughn A. White, an attorney, certify that I served a copy of this notice and the
attached motion on each entity shown on the attached list at the address shown and by the
method indicated on the list on June 20, 2024.


                                            /s/ Vaughn White
                                            Vaughn White
                  Case 23-16427           Doc 72     Filed 06/20/24           Entered 06/20/24 16:41:44      Desc Main
Label Matrix for local noticing                    ExeterDocument
                                                          Finance LLC, c/o Page
                                                                           AIS Portfolio
                                                                                   3 of 6Servic   U.S. Bankruptcy Court
0752-1                                             4515 N Santa Fe Ave. Dept. APS                 Eastern Division
Case 23-16427                                      Oklahoma City, OK 73118-7901                   219 S Dearborn
Northern District of Illinois                                                                     7th Floor
Eastern Division                                                                                  Chicago, IL 60604-1702
Thu Jun 20 16:30:26 CDT 2024
(p)ALLIANT CAPITAL MANAGEMENT HDH                  American Express National Bank                 American Express National Bank
ATTN C/O WEINSTEIN & RILEY P S                     Attn: Bankruptcy                               PO Box 30384
1415 WESTERN AVE                                   725 Canton St                                  Salt Lake City UT 84130-0384
SUITE #700                                         Norwood, MA 02062-2679
SEATTLE WA 98101-2051

American Family In                                 CACH, LLC                                      Credit Collection Services
Attn: Bankruptcy                                   Resurgent Capital Services                     Attn: Bankruptcy
725 Canton St                                      PO Box 10587                                   725 Canton St
Norwood, MA 02062-2679                             Greenville, SC 29603-0587                      Norwood, MA 02062-2679


(p)CREDIT FRESH                                    Edward Hospital                                Edward Hospital
200 CONTINENTAL DRIVE SUITE 401                    223 W Jackson Blvd                             801 S Washington St
NEWARK DE 19713-4337                               Chicago IL 60606-6908                          Naperville, IL 60540-7499



Endeavor Health Edward Hospital                    Exeter Finance LLC                             Exeter Finance LLC
801 S Washington St                                AIS Portfolio Services, LLC                    Attn: Bankruptcy
Naperville IL 60540-7499                           4515 N Santa Fe Ave. Dept. APS                 PO Box 166008
                                                   Oklahoma City, OK 73118-7901                   Irving, TX 75016-6008


Exeter Finance LLC c/o AIS Portfolio Service       First Premier Bank                             Geico Casualty Co
4515 N. Santa Fe Ave. Dept. APS                    Attn: Bankruptcy                               5260 Western Ave
Oklahoma City, OK 73118-7901                       PO Box 5524                                    Cherry Chase MD 20815-3799
                                                   Sioux Falls, SD 57117-5524


Geico Casualty Co.                                 Genesis Fs Card Services                       Genesis Fs Card Services Inc.
Attn: Bankruptcy                                   Attn: Bankruptcy                               Attn: Bankruptcy
725 Canton St                                      PO Box 4477                                    1800 Route 34N
Norwood, MA 02062-2679                             Beaverton, OR 97076-4401                       Ste 305
                                                                                                  Wall, NJ 07719-9146

Heartlad Bank and Tru                              Heartland Bank and Tru                         (p)JEFFERSON CAPITAL SYSTEMS LLC
401 N Hershey Rd                                   Lvnv Funding/Resurgent Capital                 PO BOX 7999
PO Box 67                                          Attn: Bankruptcy                               SAINT CLOUD MN 56302-7999
Bloomington IL 61702-0067                          PO Box 10497
                                                   Greenville, SC 29603-0497

LVNV Funding, LLC                                  Mdg US/Capital Community Bank                  Merchants’ Credit Guide Co.
Resurgent Capital Services                         Attn: Bankruptcy                               209 S LaSalle St
PO Box 10587                                       3422 Old Capitol Trl                           Suite 900
Greenville, SC 29603-0587                          # PMB 1993                                     Chicago, IL 60604-1443
                                                   Wilmington, DE 19808-6124

Midland States Bank / Heartland Bank               Mngh, LLC.                                     NewRez LLC d/b/a Shellpoint Mortgage Servici
1201 Network Centre Dr                             Attn: Bankruptcy                               Attn: Recovery Dept.
Effingham, IL 62401-4677                           5401 W Kennedy Blvd Ste 1030                   P. O. Box 19024
                                                   Tampa, FL 33609-2450                           Greenville, SC 29602-9024
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Quantum3 Group LLC as agent for                      Quantum3 Group LLC as agent
                                                          Document           Pagefor 4 of 6               Quantum3 Group LLC as agent for
CKS Prime Investments LLC                            Concora Credit Inc.                                  Sadino Funding LLC
PO Box 788                                           PO Box 788                                           PO Box 788
Kirkland, WA 98083-0788                              Kirkland, WA 98083-0788                              Kirkland, WA 98083-0788


SANTANDER CONSUMER USA INC.                          Santander Consumer USA, Inc                          Security Credit Services
P.O. BOX 961245                                      Attn: Bankruptcy                                     Attn: Bankruptcy
FORT WORTH, TX 76161-0244                            PO Box 961245                                        PO Box 1156
                                                     Fort Worth, TX 76161-0244                            Oxford, MS 38655-1156


Speedy Cash Illinois,Inc                             (p)SPRING OAKS CAPITAL LLC                           Tempoe LLC
d/b/a Speedy Cash                                    1400 CROSSWAYS BLVD STE 100B                         Attn: Bankruptcy
PO Box 550                                           CHESAPEAKE VA 23320-0207                             PO Box 1156
Cleveland, TN 37364-0550                                                                                  Oxford, MS 38655-1156


The Bank of Missouri                                 VW Law LLC                                           (p)VELOCITY PORTFOLIO GROUP INC
Attn: Bankruptcy                                     1755 Park St Suite 200                               1800 RT 34 NORTH
PO Box 1216                                          Naperville IL 60563-8404                             BLDG 3 SUITE 305
Chesapeake, VA 23327-1216                                                                                 WALL NJ 07719-9146


WEBBANK                                              WILL COUNTY TREASURER                                Wells Fargo Bank
Attn: Bankruptcy                                     302 N CHICAGO ST                                     Attn Levy Processing MACS 39828
PO Box 10497                                         JOLIET, IL 60432-4059                                PO Box 29779
Greenville, SC 29603-0497                                                                                 Phoenix AZ 85038-9779


Will County CCAO                                     Wrightwood Mgmt                                      Glenn B Stearns
302 N. Chicago Street 2nd Floor                      4506 North Maplewood Ave                             801 Warrenville Road Suite 650
Joliet, IL 60432-4078                                Chicago IL 60625-9249                                Lisle, IL 60532-4350



Patrick S Layng                                      Robert Divilbiss                                     Vaughn A White
Office of the U.S. Trustee, Region 11                2600 John Bourg Dr.                                  Vw Law LLC
219 S Dearborn St                                    Plainfield, IL 60586-8231                            1700 Park St
Room 873                                                                                                  Suite 203
Chicago, IL 60604-2027                                                                                    Naperville, IL 60563-2370



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Alliant Capital Management - HDH                     CreditFresh                                          Jefferson Capital Systems LLC
C/O Weinstein & Riley, P.S.                          200 Continental Dr Ste 401                           Po Box 7999
1415 WESTERN AVE, SUITE 700                          Newark, DE 19713-4337                                Saint Cloud MN 56302-9617
SEATTLE, WA 98101


Spring Oaks Capital, LLC                             Velocity Investments, LLC
Attn: Bankruptcy                                     Attn: Bankruptcy
PO Box 1216                                          1800 Route 34N
Chesapeake, VA 23327-1216                            Ste 305
                                                     Wall, NJ 07719
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                                                         Document     Page 5 of 6

                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)American Family In.                               (d)CACH, LLC                                         (u)Mdg US/Capital Community Bank
Attn: Bankruptcy                                     Resurgent Capital Services                           Attn: Bankruptcy
725 Canton St                                        PO Box 10587                                         3422 Old Capi
Norwood, MA 02062-2679                               Greenville, SC 29603-0587


End of Label Matrix
Mailable recipients      50
Bypassed recipients       3
Total                    53
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                       UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

IN RE:                                          )
                                                )   Case No. 23-16427
Robert Divilbiss,                               )
               Debtor(s)                        )   Chapter 13
                                                )   Judge Deborah L. Thorne


            MOTION TO VOLUNTARILY DISMISS CHAPTER 13 CASE

         NOW COMES Debtor, Robert Divilbiss, by attorney Vaughn A. White, and moves

this Honorable Court for an Order to voluntarily dismiss Debtor’s Chapter 13 case. In

support thereof, Debtor states the following:

         1. On December 7, 2024, Debtor filed his Chapter 13 petition.

         2. Debtor has informed his attorney that he no longer wishes to proceed with his

            bankruptcy petition.

         WHEREFORE, the Debtor moves this Honorable Court to enter an Order voluntarily

dismissing Debtor’s Chapter 13 case.

                                                           Respectfully Submitted,


                                                           /s/ Vaughn A. White
                                                           Vaughn A. White
                                                           Attorney for Debtor

Vaughn A. White
Illinois ARDC # 6198291
VW LAW LLC
Attorney for Debtor(s)
1700 Park St., Suite 203
Naperville, IL 60563
630-429-9010
vaughn@vaughnwhite.com
